          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                     CRIMINAL CASE NO. 3:08cr233


UNITED STATES OF AMERICA, )
                          )
                          )
              vs.         )                     ORDER
                          )
                          )
(1) JOSE PERALTA,         )
(2) MIGUEL LORIA,         )
(3) RICHARD VARELA,       )
(4) MARINO MARTINEZ.      )
                          )



      THIS MATTER is before the Court on the Government’s Motion for

Alternative Victim Notification Procedures. [Doc. 75].

      The Crime Victims’ Rights Act provides that the victim of a crime has

the right to “reasonable, accurate, and timely notice of any public court

proceeding” involving the crime at issue and the right “to be reasonably

heard at any public proceeding in the district court” involving the

sentencing of the defendant. 18 U.S.C. §3771(a)(2) & (4). However, in “a

case where the court finds that the number of crime victims makes it



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impracticable to accord all of the crime victims the rights described [above],

the court shall fashion a reasonable procedure to give effect to this [Act]

that does not unduly complicate or prolong the proceedings.” 18 U.S.C.

§3771(d)(2).

      Members of the conspiracy alleged in the indictment used stolen

identity information from thousands of residents of Puerto Rico to file false

tax returns seeking fraudulent tax refunds. The tax returns contained the

stolen identity information of these victims but used addresses unrelated to

them in order to receive the refunds. The Government has estimated that

approximately 2,500 residents of Puerto Rico were victims.

      No resident of Puerto Rico is required to file tax returns with the

Internal Revenue Service (IRS) unless a portion of that resident’s income

was derived from a source within the United States. The IRS has

implemented a mechanism to alert it to any tax return filed by one of the

victims to ensure that no negative impact occurs as to that filer.

      The Government has proposed that a press release containing

specific information about the sentencing hearings would be a reasonable

alternative to actual notice to each victim at his or her residential address.

The Defendants do not object. Having reviewed the information to be


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included in the press release, the Court finds it is a reasonable procedure

which will give effect to the Act. However, the Court will require the press

release to be made in Puerto Rico as well as any other location selected

by the Government.

     IT IS, THEREFORE, ORDERED that the Government’s Motion for

Alternative Victim Notification Procedures [Doc. 75] is hereby GRANTED

and the Government shall issue a press release to the public within Puerto

Rico sufficiently in advance of the dates of sentencing to provide

meaningful notice. The press release shall contain the following

information:

1.   The name of each Defendant, the case number and the charges for

     which that Defendant will be sentenced:

2.   Notification that residents of Puerto Rico may have been victimized

     by the conduct of the Defendant(s);

3.   Each of the victim notification rights contained within 18 U.S.C.

     §3771(a);

4.   The name and contact information of the Victim-Witness Coordinator

     for the United States Attorney for the Western District of North

     Carolina, Charlotte Division;


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5.      A description and explanation of the Government’s Victim Notification

        System (VNS) and the means by which any victim may register and

        obtain case information from the VNS website, www.notify.usdoj.gov,

        or from the VNS call center; and

6.      The date, time and location of the sentencing hearing.

        IT IS FURTHER ORDERED that upon issuance of the press release,

the Government shall send the same via first class mail or via e-mail to

every newspaper publishing daily within the Commonwealth of Puerto Rico.

The Government shall file proof of delivery of the press release by such

means, and upon publication of this press release, the Government shall

file proof of publication and a copy of the press release in the record of this

case.

                                       Signed: September 14, 2009




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